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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

                                               )
UNITED STATES OF AMERICA                       )   Criminal Case No. 17-37-JL
                                               )
           v.                                  )
                                               )
CHRISTOPHER CLOUGH                             )
                                               )

                        STIPULATION AS TO SPEEDY TRIAL ACT

       Pursuant to the Court’s order requiring the parties to file a stipulated proposed Order in

this case with respect to the periods of elapsed and excludable time under the Speedy Trial Act,

18 U.S.C. § 3161 et. sec. the parties offer the following:

       The grand jury returned an indictment on March 22, 2017. Defendant was arrested and

arraigned in this Court on March 24, 2017. Because the Act starts the clock with the later of the

appearance or the indictment, the clock here started after March 24, 2017. 18 U.S.C.

§ 3161(c)(1). The clock stopped on April 19, 2017, with the government’s filing of an assented

to motion to continue, which the Court granted. 18 U.S.C. § 3161(h)(7). Trial was continued

until August 1, 2017. A total of 25 days between March 25, 2017 and April 18, 2017 are

deducted from the 70-day period provided for in 18 U.S.C. § 3161(c)(7). 1

       Prior to the August 1, 2017 trial date, the defendant filed a motion to continue, further

stopping the clock. That continuance was granted and trial was rescheduled for the period

beginning November 7, 2017. No additional days are deducted based on this continuance.




       1
         It appears well settled that “both the date on which an event occurs or a motion is filed
and the date on which the court disposes of a motion are excluded.” United States. v. Lattany,
982 F.2d 866, 873 n.6 (3d Cir. 1992); see also United States v. Simmons, 763 F.2d 529, 530 n.1
(2d Cir. 1985) (“neither the date of the indictment nor the date on which a motion is filed is
counted”).
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       Prior to the November 7, 2017 trial date, the defendant filed a motion to continue, further

stopping the clock. That continuance was granted and trial was rescheduled for the period

beginning January 9, 2018. No additional days are deducted based on this continuance.

       Prior to the January 9, 2018 trial date, the government filed an assented to motion to

continue, further stopping the clock. A continuance was granted and trial was rescheduled for

the period beginning April 3, 2018. No additional days are deducted based on this continuance.

       Prior to the April 3, 2018 trial date, the Court held a status conference with the parties

and continued the case at the request of the parties, further stopping the clock. A continuance

was granted and trial was rescheduled for the period beginning October 2, 2018. No additional

days are deducted based on this continuance.

       Prior to the October 2, 2018 trial date, the Court held an additional status conference and

the defendant filed an assented to motion to continue until December 2018, further stopping the

clock. A continuance was granted and trial was rescheduled for the period beginning December

11, 2018. No additional days are deducted based on this continuance.




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        Accordingly, it is requested that the Court find that, under the Speedy Trial Act, 25 days

have elapsed from the 70-day period and the Speedy Trial clock will now resume on April 3,

2018.

                                                      Respectfully Submitted,

                                                      /s/ Patrick J. Richard
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                                  CERTIFICATE OF SERVICE

       I certify that on today’s date a copy of this Stipulation was delivered electronically
through ECF to all counsel of record.

                                                      /s/ Charles L. Rombeau
                                                      Charles L. Rombeau, Esq.




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